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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                   22-CR-224(4)(NEB/TNL)


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )       DEFENDANT’S MOTION
               v.                              )       TO CONTINUE SENTENCING
                                               )       DATE
Filsan Mumin Hassan,                           )
                                               )
                                               )
                       Defendant.              )


       The Defendant, Filsan Hassan, by and through her undersigned attorney, respectfully
requests the court continue her sentencing date and give counsel and Ms. Hassan additional time
to prepare for the hearing.
       As this Court is aware, Counsel is on the cusp of beginning a multi-defendant complex
RICO trial, during which the sentencing is currently scheduled. While Counsel believed that she
could adequately prepare for trial for one defendant and sentencing on another at the same time,
on further reflection and review of pending obligations leading up to trial, trying to do both
would limit the attention and care required for zealous advocacy of each client. Counsel will do a
better job for Ms. Hassan if the hearing occurs after the trial.
       Additionally, Ms. Hassan continues to need substance abuse treatment, and any
undivided attention from that risks a relapse in this particularly vulnerable moment for her as she
has faced recent challenges with sobriety. Moving the date will give her a longer period of
programming and compliance, as well as more confidence appearing before a judge. Counsel
wants Ms. Hassan to be feeling physically and mentally well for her hearing.
       Ms. Hassan’s case has been pending for years, and its conclusion requires that the best
argument in her favor is made. Allowing Counsel to get through the trial and focus on Ms.
Hassan’s case when she has the time and bandwidth to accomplish that.
       Counsel requests a date in late June or early July, with sentencing positions due two
weeks prior.
       The Government does not object to this request.
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Respectfully submitted,

Dated: April 29, 2025              /s/Catherine Turner
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